






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-95-00178-CV







Ex Parte:  Albert Camacho, Relator









HABEAS CORPUS PROCEEDING FROM WILLIAMSON COUNTY







PER CURIAM



	Albert Camacho filed his petition for writ of habeas corpus on March 28, 1995,
seeking discharge from the custody of the sheriff of Williamson County.  After reviewing the
petition, we conclude that the writ should not issue as requested.  Because appellant's custody
arises from a criminal proceeding, we are without authority to issue the writ.  Tex. Gov't Code
Ann. §&nbsp;22.221(d) (West Supp. 1995).

	The petition for writ of habeas corpus is denied.


Before Chief Justice Carroll, Justices Aboussie and Jones

Petition for Writ of Habeas Corpus Denied

Filed:   April 5, 1995

Do Not Publish


